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     EXHIBIT A
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Type of Work:      Text

Registration Number / Date:

          TX0007188321 / 2010-06-02

Application Title: The Bedwetter.

Title:         The Bedwetter.

Description:      Book, 240 p.

Copyright Claimant:

          Sarah Silverman.

Date of Creation: 2010

Date of Publication:

          2010-04-01

Nation of First Publication:

          United States

Authorship on Application:

          Sarah Silverman; Domicile: United States; Citizenship:

            United States. Authorship: text.

Names:          Silverman, Sarah

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Type of Work:     Text

Registration Number / Date:

          TX0008471412 / 2017-09-05

Application Title: ARARAT.

Title:         ARARAT.

Description:     Book, 305 p.

Copyright Claimant:

          CHRISTOPHER GOLDEN.

Date of Creation: 2016

Date of Publication:

          2017-03-29

Nation of First Publication:

          United States

Authorship on Application:

          CHRISTOPHER GOLDEN; Domicile: not known. Authorship: text.

Names:          GOLDEN, CHRISTOPHER

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Type of Work:      Text

Registration Number / Date:

          TX0007044052 / 2009-08-25

Application Title: Sandman Slim.

Title:         Sandman Slim.

Description:      Book, 388 p.

Copyright Claimant:

          Richard Kadrey.

Date of Creation: 2009

Date of Publication:

          2009-08-01

Nation of First Publication:

          United States

Authorship on Application:

          Richard Kadrey; Domicile: United States; Citizenship:

            United States. Authorship: text.

Names:          Kadrey, Richard

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